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February 21, 2025


VIA ECF

Hon. Paul G. Levenson
John Joseph Moakley United States Courthouse
1 Courthouse Way, Suite 2300
Boston, MA 02210

Re:       UMG Recordings, Inc. et al. v. Suno, Inc., No. 24-cv-11611-FDS (D. Mass.)

Dear Magistrate Judge Levenson:

        The parties jointly write to update the Court on the status of their negotiations regarding the disputes
raised during the discovery conference held on February 14, 2025. See Dkt. No. 60. The parties have
exchanged positions with respect to the issues discussed during the discovery conference and have been
able to reach agreement on certain, but not all, aspects of their disputes.

I.    Disputes Regarding Plaintiffs’ First Set of Requests for Production of Documents to Suno

          A.     Definition of AI Models

        The parties have a dispute as to this issue. The parties have been unable to agree on the language
for a proposed interrogatory or otherwise agree regarding AI models that are within the scope of discovery.

          B.     Investor Communications

       The parties have a dispute as to this issue. The parties have exchanged search terms on the
investor requests but have been unable to reach agreement.

          C.     Requests Related to Suno’s Training Data

        The parties are continuing to meet and confer with respect to this issue. The parties have exchanged
search terms regarding the requests for production pertaining to Suno’s training data and processes, and
we have made progress in reaching agreement on certain of these requests. The parties expect that they
will be able to provide confirmation as to any outstanding disputes within the next week.

II. Disputes Regarding Suno’s First Set of Requests for Production of Documents to Plaintiffs

          A.     Requests Related to the Asserted Works

          With respect to the disputes concerning certain of Suno’s requests related to the Asserted Works,
the parties have reached resolution on (1) production of copyright registrations; and (2) production of chain
of title information for pre-1972 sound recordings and copyright registrations that do not identify Plaintiffs as

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an author or owner of the work. The parties have been unable to reach resolution on (1) the production of
deposit copies; and (2) works made for hire.

                                              *       *      *

       The parties respectfully inquire as to Court’s preferred form and timing of briefing for any remaining
disputes.

Respectfully submitted,


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